      Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17                  Page 1 of 15 PageID 5



                                      CAUSE NO. 2017-003991-1

     KAREN SNELL AND GARY SNELL,                     §    IN THE COUNTY COURT
         PLAINTIFFS,                                 §
                                                     §
     VS.                                             §    COUNTY COURT AT LAW NO. 1
                                                     §
     HOLGUIN TRANSPORT SERVICE                       §
     CORP. DBA H.T.S. AND SERGIO                     §
     AGUIRRE,                                        §    TARRANT COUNTY, TEXAS
          DEFENDANTS.


                          STATE COURT ACTION DOCUMENT INDEX


1.         State Court Case Summary

2.         Plaintiffs’ Original Petition and Plaintiffs’ Request for Disclosure to Defendants filed on
           July 3, 2017

3.         Executed Citation for Sergio Aguirre with Officer’s Return of Service filed on July 24,
           2017

4.         Executed Citation for Holguin Transport Corp. d/b/a H.T.S. with Return of Service filed
           on July 26, 2017

5.         Defendants’ Original Answer – General Denial filed on July 26, 2017
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 2 of 15 PageID 6
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 3 of 15 PageID 7
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 4 of 15 PageID 8
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 5 of 15 PageID 9
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 6 of 15 PageID 10
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 7 of 15 PageID 11
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 8 of 15 PageID 12
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 9 of 15 PageID 13
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 10 of 15 PageID 14
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 11 of 15 PageID 15
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 12 of 15 PageID 16
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 13 of 15 PageID 17
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 14 of 15 PageID 18
Case 4:17-cv-00681-O Document 1-1 Filed 08/16/17   Page 15 of 15 PageID 19
